     Case 2:19-ap-01484-WB     Doc 5 Filed 11/25/19 Entered 11/25/19 10:24:44   Desc
                               Main Document     Page 1 of 4

      JAMES ANDREW HINDS, JR. (SBN 71222)
1     jhinds@jhindslaw.com
2     PAUL R. SHANKMAN (SBN 113608)
      pshankman@jhindslaw.com
3     RACHEL M. SPOSATO (SBN 306045)
      rsposato@jhindslaw.com
4     HINDS & SHANKMAN, LLP
      21257 Hawthorne Blvd., Second Floor
5     Torrance, CA 90503
6     Telephone: (310) 316-0500
      Facsimile: (310) 792-5977
7
      Counsel for Plaintiff,
8     The Womans Club of Hollywood, California
9

10
                              UNITED STATES BANKRUPTCY COURT
11
                                   CENTRAL DISTRICT OF CALIFORNIA
12
                                        LOS ANGELES DIVISION
13

14    In re                                      Case No. 2:19-bk-19677-WB

15    JENNIFER MORGAN,                           (Chapter 13)

16                    Debtor.                    Adv. Case No. 2:19-ap-01484-WB
17
                                                 NOTICE OF REQUIRED COMPLIANCE
18    THE WOMANS CLUB OF HOLLYWOOD,              WITH FEDERAL RULE OF BANKRUPTCY
      CALIFORNIA,                                PROCEDURE 7026 AND LOCAL
19                                               BANKRUPTCY RULE 7026-1
                      Plaintiff,
20                                               Status Conference:
      vs.                                        Date: January 14, 2020
21
                                                 Time: 2:00 p.m.
22    JENNIFER MORGAN , an individual,           Crtrm: 1375
                                                 Place: 255 E. Temple Street
23                   Defendant.                         Los Angeles, CA 90012
24

25
      ///
26
      ///
27
      ///
28
                                                 1
                                   NOTICE OF REQUIRED COMPLIANCE
     Case 2:19-ap-01484-WB    Doc 5 Filed 11/25/19 Entered 11/25/19 10:24:44       Desc
                              Main Document     Page 2 of 4

1           TO ALL INTERESTED PARTIES:

2           PLEASE TAKE NOTICE THAT the parties are required to comply with the

3     requirements of Fed. R. Bankr. P. 7026 and Local Bankruptcy Rule 7026-1.

4

5     Dated: November 25, 2019                     HINDS & SHANKMAN, LLP
6

7
                                                   By: /s/ James Andrew Hinds, Jr.
8                                                  JAMES ANDREW HINDS, JR.
                                                   Attorneys for Plaintiff, The Woman’s Club of
9                                                  Hollywood, California
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                            2
                              NOTICE OF REQUIRED COMPLIANCE
            Case 2:19-ap-01484-WB                   Doc 5 Filed 11/25/19 Entered 11/25/19 10:24:44                                     Desc
                                                    Main Document     Page 3 of 4



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                    HINDS & SHANKMAN, LLP, 21257 Hawthorne Blvd., Second Floor, Torrance, CA 90503

A true and correct copy of the foregoing document entitled (specify) NOTICE OF REQUIRED COMPLIANCE WITH
FEDERAL RULE OF BANKRUPTCY PROCEDURE 7026 AND LOCAL BANKRUPTCY RULE 7026-1 will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 25, 2019 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date November 25, 2019 I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) November 25, 2019 I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 November 25, 2019                                        MAYRA DURAN                           /s/ Mayra Duran
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
            Case 2:19-ap-01484-WB                   Doc 5 Filed 11/25/19 Entered 11/25/19 10:24:44                                     Desc
                                                    Main Document     Page 4 of 4


 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):


       Nancy K Curry (TR) TrusteeECFMail@gmail.com
       James Andrew Hinds jhinds@jhindslaw.com, mduran@jhindslaw.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov


2. SERVED BY UNITED STATES MAIL:


Jennifer Morgan
2408 Detour Drive
Los Angeles, CA 90068

Leon D. Bayer, Esq.
1055 Wilshire Blvd., Suite 1900
Los Angeles, CA 90017


3. SERVED BY OVERNIGHT MAIL

Clerk to the Honorable Julia W. Brand
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382 / Courtroom 1375
Los Angeles, CA 90012




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
